Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 1 of 38

Walter Pettaway vs Nicholas D. Barber, et al.

Neal Flournoy

9/23/2021

computer.

A. Phone or computer, yes, sir.

Q. All right. Let me ask you about
whether -- At any time while you were a Montgomery

Police Department officer, were you ever instructed
under any circumstances that Montgomery police
officers were to render first aid or to try to
provide any kind of medical assistance or care toa
person that was injured by them?

A. We were never directed to provide
medical care for anybody. We were always told to
hold off and wait for medics, call medics. The
moment that you recognize that there's an injury,
call medics. And obviously, you know, if it's a
paper cut, you don't call medics for a paper cut
unless the person requests it. But in situations
such as this, there's obviously something wrong,
call medics.

Q. Okay. So was the policy that you
weren't required to or was the policy that you were
told not to?

A. It was -- The policy as written if I
remember was you basically have to be certified and
trained to perform medical things. If you're not

certified, if you're not trained, then don't do it,

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc.

Page: 27
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 2 of 38

24

25

Walter Pettaway vs Nicholas D. Barber, et al.

Neal Flournoy
9/23/2021

call for medics, let them do it. They're the
medical professionals, let the medical
professionals do medical stuff.

Q. So for all Montgomery police officers
who weren't trained or certified with regard to
first aid, they were all instructed not to provide
any medical care or first aid.

Pretty much.

Correct?

Yes, sir.

Well, not pretty much.

I'm sorry. Yes, sir.

o Pp © PO »

All right. Were there any
circumstances under which you were required or
allowed to provide medical care even if you didn't

have training?

A. That's a difficult question to answer.
Q. Well, let me help you. I'm going to
show you what -- Do you know Officer Andre
Carlisle?

A. Yes.

Q. Okay. I'm going to show you what's

been marked Plaintiff's Exhibit B to his
deposition.

MR. EAST: You said which number?

1-888-326-0594 depos@bainandassociates.com

Bain & Associates Court Reporting Services, Inc.

Page: 28
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 3 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Bianka Raquel Ruiz
10/8/2021

A Yes, sir.

(Plaintiff's Finley Exhibit 3

was produced for reference.)
Q Okay. So you're familiar with the
Plaintiff's Exhibit 3 to Mr. Finley's

deposition?

A Yes, sir.

Q Did you make a copy of it by any
chance?

A I didn't know I had to print it out.
No, sir

Q But you saw it and read through it?
A Yes, sir.

Q Okay. Well, I will -- you saw this
and knew of it -- and knew of its content prior

to July 8th, of 2018; correct?

A That's correct.

QO And how were -- how did you review
it or know of it prior to July 8, of 2018?

A Through Power DMS. We have a system
that puts our policies that -- and we have --

are required to read our policies, so I reviewed

that.
Q All right. Let maybe shortcut this.
Let me -- there has been testimony about that

1-888-326-0594 depos@bainandassociates.com

Bain & Associates Court Reporting Services, Inc. Page: 34

Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 4 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Bianka Raquel Ruiz

10/8/2021

1] earlier by other police officers.
2 And what they testified is that
3| there is -- this Power DMS that you're talking

4! about enables police officers, either with an

5! app on their phone or with a computer, that they

6] can pull up and look and view new policies,

7|/ regulations, or other communications from police

8] department addressing different issues with

9} regard to police operations; correct?

107 A Correct.
11} Q All right. And there was also
12/ testimony that these -- these type of policy

13 |} directives or policies and procedures as they
14) are -- as the police department puts them out,
15| they are put on that app; and you are required
16]/ to sign off on it that you have read and

17 | understood it; correct?

18) A That's correct.

19) Q And you did that with this

20] particular 3.3.5 or Plaintiff's Exhibit 3 to
21| Mr. Finley's deposition; correct?

42) A That's correct.

231 Q I'm also going to direct your

24) attention to Plaintiff's Exhibits B and C that

25 | were --

1-888-326-0594 depos@bainandassociates.com

Bain & Associates Court Reporting Services, Inc.

Page: 35
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 5 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Bianka Raquel Ruiz
10/8/2024

24

25

MR. SIKES: I'll ask that those be
placed on the screen, please.
(Plaintiff's Exhibit B was
produced for reference. )
MR. SIKES: And the second page of
iP
QO And take a moment and read that, if
you would, please, ma'am. And tell us when you

have read it, and then we will turn to the next

page of it.

A You can turn to the next page.
Okay.

Q I will represent to you that is the
deposition testimony -- or a portion of the

deposition testimony of lieutenant Andre
Carlisle.
Do you know or do you recognize the

name lieutenant Andre Carlisle?

A Lieutenant Carlisle? Yes, sir.
Q And who is Lieutenant Carlisle?
A I just know -- I -- I just know he's
a lieutenant. I've never personally worked with

him through patrol.
Q Okay. I'11 represent to you that he

was produced by the City of Montgomery as their

1-888-326-0594 depos@bainandassociates.com

Bain & Associates Court Reporting Services, Inc. Page: 36

Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 6 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Bianka Raquel Ruiz
10/8/2021

24

25

designee to give testimony with regard to police

training.
A Uh-huh.

MR. EAST: With -- with regard to
the -- the policies.

MR. SIKES: Right.

MR. EAST: Yeah. You said
"training."

MR. SIKES: I'm sorry.
Q (By Mr. Sikes) And have you seen
this -- this document?

Did you see it yesterday?
A This? No, I -- no. No, sir.
Q Had you ever seen this document
before?
A No, sir. No.
Q Okay .
A No, sir.
QO And do you understand it to mean

that in July of 2018 and for some time prior to
that there were no circumstances under which
Montgomery police officers were required to
provide hands-on first aid or medical care to a
person they injure or who was injured in the

course of him being taken into custody; correct?

1-888-326-0594 depos@bainandassociates.com

Bain & Associates Court Reporting Services, Inc. Page: 37

Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 7 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Bianka Raquel Ruiz
10/8/2021
1] A That's correct.
21 Q Okay. Is that -- is that what you

understood Montgomery Police Department policy
was in July of 2018?
A Yes, sir.
(Plaintiff's Exhibit C was

produced for reference.)
Q T'll show you Plaintiff's Exhibit C
also, and I'll represent to you this is a
portion of the deposition of Ernest Finley who
was taken in this case.

MR. SIKES: Can you show us the
second page and let Ms. Ruiz read that.
Q Tell us when you have finished
reading it, ma'am.
A (Witness complies.) I'm done.
Q All right. You understood then that
Mr. Finley, the former police chief, testified
that Montgomery Police Department policies and
procedures did not require Montgomery Police
Department policemen who cause a
life-threatening injury, such as arterial
bleeding, they don't have any obligation to
provide first aid to stop or reduce the flow of

blood necessary to avoid loss of life.

1-888-326-0594 depos@bainandassociates.com

Bain & Associates Court Reporting Services, Inc. Page: 38

Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 8 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Bianka Raquel Ruiz
10/8/2021

24

25

Do you understand that?
That's correct.
That's what you were reading?

Yes, sir.

Oo Ff OO P

Do you agree that that is what you
understood Montgomery Police Department policy
to be in July of 2018?

A Yes, sir.

Q I'm sorry. Do you need to tend to
something, ma'am?

A No. = was -- I don't have a guiet
place, so -- and there are people talking; so I
was trying to get away from the noise. There we
go. So --

Q All right. Now, you saw and -- that
Mr. Pettaway as he lay out there on the sidewalk

was bleeding heavily; correct?

A Yes. I saw all the blood. Yes,
sir.
Q And you knew that if -- there was a

danger of him possibly dying if something wasn't
done to stop or reduce or retard the flow of
blood; correct?

A It -- yes, sir.

Q All right. Is the reason that you

1-888-326-0594 depos@bainandassociates.com

Bain & Associates Court Reporting Services, Inc. Page: 39

Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 9 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Bianka Raquel Ruiz
10/8/2021

didn't have a -- or take any action to reduce
Mr. Pettaway's loss of blood was that you hadn't
been trained in that and that Montgomery Police
Department policies prohibited you from --
prohibited you from doing that?

Are those reasons why you didn't do

that?

A That's correct. Yes, sir.

Q Are there any other reasons you can
think of that you didn't provide -- make any

attempt to provide first aid to Mr. Pettaway?
Any other reasons you can think of?
A I just don't have medical knowledge.
I don't have knowledge of assisting in that --
in that manner.
Q All right. The Montgomery Police
Department doesn't require you to be trained and
doesn't train you in first aid to stop bleeding,
does it; or did it?
A At -- at that time; no, sir. We
were only trained to do CPR.
Q And -- well, Montgomery Police
Department didn't train you to do that.
You got that in -- in the police

academy; correct?

1-888-326-0594 depos@bainandassociates.com

Bain & Associates Court Reporting Services, Inc. Page: 40

Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 10 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Bianka Raquel Ruiz
10/8/2021

1 MR. EAST: Object to the form.

2) A That's correct.

31 Q Okay. Did the -- after you left the
4/ police academy, did the Montgomery Police

5| Department train you in any aspect of first aid
6] or providing medical care in any area?

7) BA No, sir.

8 QO I think that's all, ma'am. Thank

9} you.

19; A Yes, sir.

11 (THE DEPOSITION WAS CONCLUDED AT 9:47 A.M.)

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 41
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 11 of 38

24

25

Walter Pettaway vs Nicholas D. Barber, et al.

Keiundra Watts

10/7/2021

deposition. It was C to a deposition taken
earlier also.

(Plaintiffs' Exhibit C was

marked for identification.)
Q And I'd ask you to take a look at
the question on -- beginning on line five and
the answer on line 13.

Would you read that aloud for us,

please, ma'am, from line five to the answer on

line 13.

A (Witness complies.)

Q If you would read it aloud, please,
ma'am.

A Yes, sir.

Okay. Your testimony is that MPD
policy 3.3.5 did not require MPD policemen who
cause, say, a life-threatening injury such as
arterial bleeding, they don't have any
obligation to themselves provide first aid to
stop or reduce the flow of blood necessary to
avoid loss of life; correct?

Q That's fine. Thank you, ma'am.

Do you agree or disagree with that
statement by Mr. Finley.
A I agree.

1-888-326-0594 depos@bainandassociates.com

Bain & Associates Court Reporting Services, Inc.

Page: 44
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 12 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Keiundra Watts
10/7/2021
1] QO Okay. Had anybody at the police
2] department ever in your time you were -- that

3} you were a police officer prior to July 8th, of
4] 2018; anybody ever tell you or direct you that

>} you are to provide first aid if you see somebody
6| who has suffered an injury that looks to you to

7! be life threatening?

8) A No.

9) Q Okay. I'm going to show you these
10) Plaintiff's Exhibit -- or I will -- I'll read

11] for you the testimony of Lieutenant Carlisle. I

12/ put his testimony in as Plaintiff's Exhibit B.
13} And, basically, I asked him some -- somewhat

14) similar question.

15 And that is: From 2015, which was
16) when Mr. Finley began as the police chief, until
17} January of 2021; during that period of time,

18 | there were no circumstances under which

13} Montgomery police officers were required to

20! provide hands-on first aid or medical care to an
21 injured person; correct?

a2 And he went through and asked me to
23) clarify the question. And then he said, That's
24) correct, that that -- there is not any

25 circumstances.

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 45
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 13 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Keiundra Watts
10/7/2021

1 I then repeated it and said: Under
2/ no circumstances that you know of was that,

3 | providing medical care, required?

4 And he said, Under no circumstances
>} that I know of.

6 Is that also consistent with what

71) you know and were trained and were taught by the

8| Montgomery Police Department?

9/ A Yes, sir.

10} 9 Okay.

11 MR. EAST: Are you introducing that?
12 MR. SIKES: Yeah.

13 MR. EAST: As an exhibit to this

14) one?

15 MR. SIKES: Yes. Yeah.

16 (Plaintiffs' Exhibit B was

17 marked for identification.)

18) Q Okay. Are you trained in or are you

19] certified in any kind of medical care or first

20 | aid?

21) A Now. Yes, sir.

221) Q I'm sorry?

23) A Yes, sir; I am now.

241 0 When was that?

25) A The beginning of this year, 2021.

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 46
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 14 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Keiundra Watts
10/7/2021
1 Q 2021?
21 A Yes, sir.
31} Q Okay. Prior to that time, were you?
4) A No, sir.
5/1 Q Okay. Did the Montgomery Police

6| Department ever provide you with any kind of

7| medical training or first aid training prior to

8] 2021?

S| A Yes, sir.

10) 9 What was that?

11/ A CPR.

121] Q You were taught that back at the

13 | academy?

14) A Right.

15] Q Police academy?

16) A Yes.

17) Q I'm not -- I'm talking about the
18} police -- I'm talking about the Montgomery

19} Police Department.

20; A That's part of the training. No,

21/} sir. Other than that, no.

22) Q Okay. And you -- you -- do you know
23 | what CPR is?

24) A Yes, sir.

25) Q What is CPR?

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 47
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 15 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Keiundra Watts
10/7/2021

1] A To resuscitate a subject if unable
2/ to breathe or as --
3/1 9 Okay. It has to do with when

4! someone ceases breathing or their heart stops --

5/ A Correct.

6! O -- right?

7) B Yes, sir.

81 Q And, basically, the procedure is

9/ that you compress --

10]; A Compress the chest.

11} Q -- the chest --

12) A Yes, sir.

13] Q -- sort of rhythmically to try to

14] get either the heart started and/or to get them

15] to start breathing again; correct?

16) A Yes, sir.
171} Q Do you know what CPR stands for?
18) A I can't remember off the top of my

19| head. No, sir.
20) Q Okay. It stands for cardiopuimonary

al resuscitation.

22/ A Resuscitation. Yes.

23/ 9 Right. Cardio means heart.
24] A Yes.

25] 0 Pulmonary is lung.

1-888-326-0594 depos@bainandassociates,com
Bain & Associates Court Reporting Services, Inc. Page: 48
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 16 of 38

Walter Pettaway vs Nicholas D. Barber, et al.

Keiundra Waits

10/7/2021

Yes, sir.
Cardio -- CPR. Okay.

Yes, sir.

Oo F © P

So -- but nothing you were ever
taught had anything to do with how to treat a
heavily-bleeding person?

A No, sir.

Q Okay. There was a lot of blood out

there on the sidewalk and in the house, wasn't

there?
A Yes, sir.
Q Okay. Did Mr. Pettaway -- was he

unconscious as he was laying there on the

Sidewalk best you could tell?

A No, sir.

0 He wasn't unconscious?

A Not that I can remember.

Q Did he ever say anything?

A I can't recall.

O Did he ever move, turn over, or sit
up or change positions in any way on the
sidewalk?

A No, sir. Not that I can recall.

Q So he didn't -- he didn't speak as

best you can recollect?

1-888-326-0594 depos@bainandassociates.com

Bain & Associates Court Reporting Services, Inc.

Page: 49
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 17 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Joshua Smith
10/6/2021

1} loses the volume of blood that you see in these
2| photographs, do you understand that is a

3] potentially life-threatening circumstance?

4) A Sir, I'm not able to determine the

5 amount of volume of blood that he has lost.

61 Q Do you see that it's a lot of blood?
7) A Yes, sir.

81 Q Okay. Do you understand when

9! somebody -- there's uncontrolled bleeding from a

10; wound and that no attempt is made to stop or

11} retard the flow of blood that that is a

12] potentially life-threatening event or

13} circumstance?

14) A Potentially; yes, sir.

15] © Okay. And in that case that is

16} exactly what occurred; correct?

17) A I guess so. Yes, sir.

18) Q Did the Montgomery Police Department
19] provide you any training in any kind of medical
20) care or first aid?

21) A CPR.

22) 90 Well, I -- I think that that was

23] given to you by APOST in your training.

24 Is that what you were talking about?

25) A Yes, sir.

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 40
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 18 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Joshua Smith
10/6/2021

i] 90 Before you were a sworn police

2!) officer?

3/ A Yes, sir.

4/ Q Okay. I'm not talking about what

5| APOST gave you about CPR training.

6 And CPR now, for the record, what do
7/ you understand CPR to mean?

8) A If someone has stopped breathing,

9] you then perform CPR.

19| Q Okay. Do you know what the initials

11 CPR stand for?

12) A I can't recall that, sir.

13] Q How long was this training that you
14] got in APOST -- from APOST?

15]; A The whole extent of training --

16] Q No, sir.

i7) A -- or just the CPR, sir?

18] Q No, sir. The CPR training. That's

19} what we're talking about.

20 How long was that -- was it a

21) one-hour course?

221 A I don't recall.

23) Q Okay. And you don't even know what
24] CPR means, do you?

25/ A No, sir. I can't remember what the

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 4]
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 19 of 38

Walter Pettaway vs Nicholas D. Barher, et al. Joshua Smith
10/6/2021

1) abbreviation stands for.

21 Q Okay. That's the only training that
3] you got from anybody, and it was from APOST;

4] correct?

5/ A Yes, Sir.

6) Q All right. And this -- the

7! Montgomery Police Department provided you no

8) training with regard to first aid or medical

$|/ care at all; correct?

19; A Yes, sir.

11} 9 What I said is correct?

12; A Correct.

13 | Q Okay. And they didn't require you

14/} to be trained in any kind of medical care or

15; first aid; correct?

16] A Correct.

17 Q And to the best of your knowledge,
18| they didn't require any police officer to be

19] trained in medical care or first aid to your

20} knowledge; correct?

21); A Correct.

22/1 0 You don't know of any Montgomery

23 | police officer who's ever received any training
24) from the Montgomery Police Department in medical

25/ care or first aid; correct?

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 42
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 20 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Joshua Smith
10/6/2021
1; A I do not personally know, sir.
21 0 Okay. Do you understand what the --
3| the -- you are being sued for, what the charges

4/ against you are in the complaint filed in this

3 case?

6) A Yes, sir.

71 Q And what do you understand that to

8| be?

91 A I believe it's a negligence death.
10) Q And what in particular is -- are you

11} charged with doing or not doing?

12; A I believe it's having not rendered
13} any aid to the victim.

14) Q Okay. All right. Are you familiar
15} with the Montgomery, or were you -- in July of
16]; 2018, were you familiar with the Montgomery

17 | Police Department policies and procedures?

18/ A Yes, sir.

19} Q And how were you made -- how were

20) they made known to you?

al) A I'm not sure what the app is called,
22! but there was an app that you had on your phone.
23) And you had to go through all policies, and it
24! made every policy available on your phone.

25] Q Were you required to read them all?

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 43
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 21 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Joshua Smith
10/6/2021
1] A Yes, sir.
2/ Q And were you required to sign off on

3] it in some way electronically --
4) A Yes, sir.
5] Q -- that you had confirmed that you

6/ had seen it and read it and knew it?

71 OA Yes, sir.

8! Q Okay. Were you ever tested on it?

9/ A IT don't recall, sir.

10] Q Okay. I'm going to show you what's
11 | been marked -- this was Plaintiffs' Exhibit 3 to

12/ Ernest Finley's deposition.
13 Ernest Finley was in the chief of

14/ police in July of 2018; correct?

15) A Yes, sir.

16 (Plaintiffs' Finley Exhibit 3

17 was marked for identification.)

18 | Q Okay. Have you seen that document

20) A Yes, sir.

21) Q Have you seen that before?

22) A Yes, Sir.

231 Q And what is that document?

24) A It is the use of force, rendering

25} aid policy.

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 44
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 22 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Joshua Smith

10/6/2021

Q Okay. And that was in force at -- I

believe in July of 2018; correct?

A I -- yes, sir.
Q Okay. The CPR training we talked
about -- CPR, by the way, stands for

cardiopulmonary resuscitation.

Does that jog your memory now?
A Yes, sir.
Q Okay. You had been -- that's the
only training you had ever had, and that was
given to you by APOST. And it has to do with
when someone has stopped breathing or their
heart has stopped beating. It is to compress
their chest to cause them to begin breathing
and/or their heart to start beating again.

Is that a fair statement of what CPR

is?
A Yes, sir.
Q Okay. But as far as any kind of

bleeding, especially a major artery being
severed or cut, you had received no training
about that at all; correct?

A No, sir.

Q And don't know that any other police

officer had ever received any training from the

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 45
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 23 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Joshua Smith
10/6/2021

1] Montgomery Police Department about that,

2) correct, to your knowledge?

3/ A That is correct, sir.

4) Q Okay. I'm going to show you the

5°] portion of Chief Finley's deposition. It's been

6} marked as Exhibit C to a prior deposition.

7 (Plaintiffs' Exhibit C was

8 marked for identification.)

9) QO And T'll ask you to take a look at
10) that.

11] A Do you need these back, sir?

12] Q Just you can put them right here.

13 | That's fine. This lady here is going to take
14) them after we're through.

15] A (Witness complies.)

16) Q Would you read the question and

1? answer there, please, sir, for us.

18; A Out loud, sir?
19] © Yes, sir.
20}; A Okay. Your testimony is that MPD

21) policy 3.3.5 did not require MPD policemen who
42) cause, say, a life-threatening injury such as

23 | arterial bleeding, they don't have any

24! obligation to themselves provide first aid to

25/ stop or reduce the flow of blood necessary to

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc, Page: 46
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 24 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Joshua Smith
10/6/2021

1] avoid loss of life; correct?

2 MR. EAST: Object to form.
3 Answer: Correct.
4 Question: You were the policy maker

5} who made or created or put 3.3.5 into effect as

6| MPD policy; correct?

7 Answer: Correct.
8) OQ Okay. Do you understand that the
9} testimony of -- of Chief Finley then to be that

10/; there were no circumstances under which any MPD
11] officer was required to provide medical care or
12) first aid to anybody who was injured and even to
13} the extent they had a life-threatening injury;
14 | correct?

15; A Correct.

16] Q Okay. Do you agree with that or

17 | disagree with that?

18; A I'm not sure I understand your --
19] Q Do you agree that that was the

20| policy or not as -- as Chief Finley testified?
21) A That -- yes, sir; that was the

221 policy. Yes, sir.
231 Q Okay. All right. In fact, let me
24) ask you to take a look back at Plaintiffs'

25] Exhibit 3 to Mr. Finley's deposition.

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc, Page: A7
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 25 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Joshua Smith
10/6/2021

1 Do you see the last sentence there,
2| paragraph C?

3 Would you read that out loud.

4) A Yes, sir. Medical aid is to be

2°] rendered by only those trained and/or certified
6] to render such aid.

71 Q Okay. So not only you were not

8| required to. If you weren't trained or

9| certified in the medical care or first aid, then
10) you were prohibited from providing any first

11} aid; correct?

12); A Yes, sir.

131] 9 Okay. I'll show you the exhibit --

14) Plaintiffs' Exhibit B to a prior deposition.

15 (Plaintiffs' Exhibit B was
16 marked for identification. )
17} Q This is the testimony of Lieutenant

18/] Andre Carlisle.

19 Do you know Lieutenant Carlisle?
20) A I believe I remember the name.
21} Q Okay. But not -- that's fine.
22 He was designated by the City to

23 | give testimony with regard to the training of
24) Montgomery Police Department officers. And he

25/ -- I asked him there at his deposition: From

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 48
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 26 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Joshua Smith
10/6/2021

1} 2015 until January of 2021, during that period

2/ of time; there were no circumstances under which
3] Montgomery police officers were required to

4/ provide hands-on first aid or medical care to an
2°| injured person; correct?

6 And then he asked me, When there's a

71 policy in place?

8 I said, Yes, sir.

9 Is that what you're asking?

10 I said, Yes.

11 And he then said, Okay. Under no
12] circum -- I then asked him: Okay. Under no

13} circumstances that you know of was that

14) required?

15 And he answered, Under no

16) circumstances that I know of.

17 Do you agree with that testimony
18} also?

19) A Yes, sir.

20/} Q There weren't any circumstances
21) under which any Montgomery police officer was
22| required to provide medical care to someone
23} injured, even when they had a life-threatening
24) injury; correct?

25 |) A Yes, sir.

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 49
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 27 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Joshua Smith
10/6/2021

1 QO You know that of course -- I believe

2] you know that Mr. Pettaway died.

3 You know that; correct?

4) A Yes, sir.

>| 0 Do you know what he died from?

61 A No, sir.

7) QO Do you know that he -- you don't

8| know that he died from loss of blood?

9) A I wasn't aware, sir.

19) Q What other reason would you have --

11} do you have any reason to believe he died from
12) anything else?

13] A No, sir.

14) Q Okay. All right. Had anyone at the
15 | Montgomery Police Department, during the whole
16 | period of time you were employed there, did

1? anyone ever instruct, train, or tell you that if
18 | a person is being arrested or apprehended and

19|} suffers a -- what looks to you to be a

20! life-threatening injury that you should take any
21) action at providing first aid to prevent that

22| person's death?

23 Has anybody ever told you that, that
44) you should do that?

25/ A That we should get medics in route,

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 50
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 28 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Joshua Smith
10/6/2021

1] and then when I --

21 0 I'm not asking that. Again, we can
3) do this a lot quicker if you'll answer what I

4/ ask you. I understand you were -- you were

5| supposed to call the medics. That's not what

6/ I'm asking you. Again, if you would listen to

7) the question and answer that question and not

8] another question that you might want me to ask

9/ you or that your lawyers might ask later.

10 I'm asking you: Did anyone at the
11} Montgomery Police Department ever tell,

12] instruct, direct you that where you came upon in
13 | the course of arresting somebody a potentially
14) life-threatening injury that you had the

15] obligation to provide any medical care or first
16) aid care of any type to that person to prevent
17 | their death?

18) A No, sir.

13] Q Okay. In retrospect, do you believe
20] that's a wise policy?

241) A I'm not sure, sir.

22) Q You have -- you -- well, I will tell
23 | you that the death certificate indicates that

24| Mr. Pettaway died of exsanguination, which is

25) another -- which is a medical term for saying

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 51
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 29 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Ryan Powell
10/5/2021

1] you that, Hey, we need to do something to stop

2} this bleeding?

3 That never occurred to you?
4) A It did not.
>| Q Okay. Do you feel any guilt or

6| remorse about your role in causing this man's

7 | death?

8 MS. MAULDIN: Object to the form.
9/ A T -- I do not.
19]} Q If it occurred again -- you're a

11) police officer now; correct?

12) A Correct.

13] Q If it occurred tomorrow, would you
14] do exactly the same thing you did on this

15 occasion?

16) A No.
17) Q What would you do?
18; A I would attempt to stop the

19| bleeding --

201 9 Okay.
21) A -- in any way I could.
22) Q Since we filed the claim against you

23} and the other police officers, there has been
24] testimony given by former police chief Ernest

25| Finley -- he was the police chief at the time in

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 35
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 30 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Ryan Powell
10/5/2021
1} July of 2018; correct?
2/ A Correct.
3] Q I'm going to ask you -- I'm going to

4/ show you what's a Montgomery Police Department

5| directive. It was Exhibit 3 to Mr. Finley's

6| deposition.

a (Plaintiff's Finley Exhibit 3
8 was produced for reference.)
91} Q And I'm going to ask you if you can

10| recollect seeing that?

11] A Correct.

12/ Q I'm sorry?

13 You'd seen that before?

14/ A T have.

15] Q Okay. When did you see that?

16] A I don't recall. Prior to that date,
17) though

18 |] Q Prior to what date?

19) A The incident at Cresta Circle.

20 MR. SIKES: Here, do you want a

21) copy?
22 MS. MAULDIN: I'm just going to
23 | write down the policy number.

24 MR. SIKES: 3.3.5.

25] Q Did the Montgomery Police Department

1-888-326-0594 depos@bainandassociates.com

Bam & Assaciates Court Reporting Services, Inc.

Page: 36
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 31 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Ryan Powell
10/5/2021

1] give you any training in first aid or certify

2/ you in first aid or any other kind of medical

3/ care?
4) A Only CPR.
[| Q Sorry. And, actually, the

6 | Montgomery Police Department didn't train you in

7| that, did they?

8 Wasn't that APOST?

9} A Correct.

10; 9 At the academy?

11) A Correct.

12) Q And it was about a one-hour course

13} or something like that?

14; A Correct.

15] Q Okay. Other than that, that -- and
16} tell me what CPR is.

17] A I don't recall the official acronym

18 for CPR.

19) Q That is the official acronym: CPR.
20) A I don't recall what that stands for.
21] Q Cardiopulmonary resuscitation.

22 Does that help you?

23) A Yes.

24) Q Okay. And what is cardiopulmonary

25 resuscitation?

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc, Page: 37
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 32 of 38

Waiter Pettaway vs Nicholas D. Barber, et al. Ryan Powell
10/5/2021

1; A It is when they are having irregular
2| beats of the heart, you attempt to correct it by

3} manually --

4/1 0 Okay. Compressing the chest --
>| A Compressing. Yes, sir.
6) Q -- to get the heartbeat started

8,/ A Yes, sir.
9/1 Q Other than that, do you recall any
109) training by APOST prior to becoming a police

11 officer?

12; A No.
13 QO And after you became a police
14) officer -- sworn as a police officer, did the

15) Montgomery Police Department ever provide you

16/ with any training in any kind of first aid or

17} medical care?

18) A No.

13/ Q Okay. Do you know if it provided it
20/ to any other police officer?

21) A Not that I'm aware of.

22/1 Q Okay. And did you consider yourself
23} trained or certified to render aid to people who
24! were profusely bleeding?

25) A I've never been trained to stop

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 38
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 33 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Ryan Powell
10/5/2021

1} bleeding.

2/1 Q Okay. And so you know -- the answer
3] is, no, you didn't consider yourself trained?

4) A Correct. That is --

>| QO And, certainly, you weren't

6) certified to stop or arrest or retard people who
7) had suffered a wound that was -- they were

8! bleeding heavily from; correct?

9] A Correct.

19] Q Look at the last line of directive

Jt) 3.3.5 in front of you.

12 Do you see the paragraph C there?
13) A Yes, sir.

14) 9 Would you read that?

15) A Medical aid is to be rendered by

16é| only those trained and/or certified to render

del such aid.

18) © And you had no such training?
19; A COLEECE ;
201 Q And you know -- you don't know of

21} any other police officers that had that

22{} training; correct?

23) A Correct.
24} Q Well, so did you understand this to
25) be a directive to you to not -- for you not to

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 39
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 34 of 38

Walter Pettaway vs Nicholas D, Barber, et al.

Ryan Powell

10/5/2021

provide any medical care or attempt to try to
provide medical care?
A Correct.
Q Okay. I'm going to show you the
deposition of Ernest Finley, a portion of the
deposition that has been marked Plaintiff's
Exhibit C to a prior deposition.
(Plaintiff's Exhibit C was

produced for reference.)
Q I'll represent to you this is the
deposition testimony given by Chief Finley.
And the question put to Chief Finley was: Your
testimony is that MPD policy 3.3.5 did not
require a policeman who caused, say, a
life-threatening injury such as arterial
bleeding, they don't have any obligation to
themselves provide first aid to stop or reduce
the flow of blood necessary to avoid loss of
life; correct?

And what was Chief Finley's answer?
A Correct.
Q And do you agree with Chief Finley
about that?
A I do.

Q Okay. Do you remember or do you

1-888-326-0594 depos@bainandassociates.com

Bain & Associates Court Reporting Services, Inc.

Page: 40
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 35 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Ryan Powell
10/5/2021

1) know Lieutenant Andre Carlisle by any chance?

2; A I know him. Yes, sir.

3/1 Q Okay. Did he train you, or was he
4) head of training when you were there, or do you
>| know?

6] A He was not.

7!) Q Okay. I'm going to show you

8/ Plaintiff's Exhibit B. It's a portion of

9/ Lieutenant Carlisle's deposition.

10 (Plaintiff's Exhibit B was

11 produced for reference.)

12) Q And Lieutenant Carlisle there was

13 asked: From -- from 2015 until January of 2021,

14) during that period of time, there were no

15] circumstances under which Montgomery police

16) officers were required to provide hands-on first
17) aid or medical care to an injured person;

18) correct?

19 And the answer was: You mean when
20! there's a policy in place?

21 And he answers, Yes, sir.

22 And I -- he asked: Is that what
23 | you're asking?

24 Yes, sir. Were they required by

25] policy?

1-888-326-0594 depos(@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 41
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 36 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Ryan Powell
10/5/2021
1 And he says, To do hands on?
2 T said, Right.
3 And he said, No.
4 Correct?
S| A Correct.
6] QO I then asked: Under no

7 | circumstances that you know of was that

8| required?

3 And his answer was what?

10; A Under no circumstances that I know
li | of.

12 Oo Is that consistent with your

13 | understanding of what Montgomery Police

14| Department policy was in July of 2018?

15) A Yes, sir.

ié) Q There were no circumstances. It
17 | didn't matter what the injury was, how severe it
18|/ was, how likely it was that, if not treated,
19} death would ensue.

20 Under no circumstances were you
21] required to provide medical care; correct?
22) A Correct.

231 Q All right. And, in fact, if you

24) weren't trained for it, you were prohibited from

25) doing it; correct?

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 42
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 37 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Ryan Powell
10/5/2021
1] A Correct.
2/ Q Is that correct?
3/7 A Yes, sir.
4/ Q Okay. Well, we were talking about

5/ in retrospect a while ago.

6 And let me ask you about in

7| retrospect, does that seem like a very wise and
8] good policy?

9 MS. MAULDIN: Object to the form.
10); A Without medical training; if an

ll] officer was to give aid and that aid somehow

12 made the condition worse, they would be held

13 liable --

14/1 9 We can --

15; A -- for that worsening condition.
16/ Q No, sir. We have a Good Samaritan
17| law in Alabama, but I'm not -- that's not an

18/ answer to my question.
19 MR. SIKES: Move to strike as

20/ nonresponsive.

21) Q I'm asking you about whether you
22| think the policy of -- of prohibiting -- first
23) of all, not training -- let me back up and start

24) again.

25 The policy of Montgomery Police

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 43
Case 2:19-cv-00008-ECM-JTA Document 233-14 Filed 02/24/22 Page 38 of 38

Walter Pettaway vs Nicholas D. Barber, et al. Ryan Powell
10/5/2021

1] Department was not to provide any kind of

2] medical training or first aid to any of its

3| police officers; correct?

4) A Correct.

5/1 Q All right. And coupled with that,
6] it also provided that if you weren't trained or
7| certified in providing first aid or medical

8] care, then you were prohibited from providing
9! medical aid or first aid; correct?

lO] A GCorrega.

11] OQ In retrospect, do you think those

12] two policies are good and wise policies?

137) A In retrospect with this incident?
14) No.

15/ Q Okay. Were you in the Boy Scouts?
16 A No.

17] Q Now, you have described this as a

18) burglary call; correct?

19) A Correct.

20) Q Do you know what burglary is?

21) A Yes, sir.

22) Q What is burglary as you understand
23 | it?

24) A It is when a subject makes forced or
25/ unforced entry into a residence or occupied -- a

1-888-326-0594 depos@bainandassociates.com
Bain & Associates Court Reporting Services, Inc. Page: 44
